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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Dish Network L.L.C.
                                 Plaintiff,
v.                                                     Case No.: 1:16−cv−04813
                                                       Honorable Manish S. Shah
Ellas TV, Inc., et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 13, 2018:


       MINUTE entry before the Honorable Manish S. Shah: A status hearing is set for
4/3/2018 at 09:30 AM. Notices mailed. (psm, )




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